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B O I E S ,




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                                                   19                              UNITED STATES DISTRICT COURT
                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                   20                                   OAKLAND DIVISION
                                                   21
                                                        THE APPLE iPOD iTUNES ANTI-                   Lead Case No. C 05-00037 YGR
                                                   22   TRUST LITIGATION                              [CLASS ACTION]

                                                   23   ___________________________________           APPLE’S OPPOSITION TO MEDIA
                                                                                                      INTERVENORS’ MOTION FOR ACCESS
                                                   24   This Document Relates To:
                                                                                                      TO THE VIDEO DEPOSITION OF STEVE
                                                        ALL ACTIONS                                   JOBS
                                                   25

                                                   26                                                 Date:      December 9, 2014
                                                                                                      Time:      4:00 p.m.
                                                   27                                                 Courtroom: 1, 4th Floor
                                                                                                      Judge:     Hon. Yvonne Gonzalez Rogers
                                                   28


                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                     No. C 05-00037 YGR
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        O A K L A N D ,




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B O I E S ,




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                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                                                             No. C 05-00037 YGR
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                                                    1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                    2          On this motion, three proposed intervenors, Bloomberg L.P., The Associated Press, and

                                                    3   Cable News Network, Inc. (“Movants”), seek “access to the video deposition of Apple’s late CEO

                                                    4   Steve Jobs that was used as trial testimony” on December 5, 2014. (Mem. at 1). Their motion

                                                    5   should be denied.

                                                    6          On December 5, 2014, Plaintiff played an approximately twenty-seven minute excerpt

                                                    7   from Mr. Jobs’ deposition for the jury, pursuant to Federal Rule of Civil Procedure 32(a)(4)(A).

                                                    8   The excerpt was not admitted into evidence as an exhibit. See Trial Tr. 1058:18-1059:22. Thus,

                                                    9   by its terms, the Court’s December 4, 2014 Order requiring the parties to provide the press with
L L P




                                                   10   “five copies of each admitted exhibit” is inapplicable. See Order for Parties to Accommodate the
                                   F L E X N E R




                                                   11   Press (Dkt. 951) (emphasis added). Moreover, this Court specifically addressed Mr. Jobs’
                          C A L I F O R N I A




                                                   12   testimony prior to the entry of the December 4, 2014 Order, requiring the parties to produce to the

                                                   13   press only the transcript of the deposition excerpts played at trial. See Trial Tr. 647:19-648:9. It
                               &




                                                   14   did not direct the parties to produce the video played for the jury. See id.
             S C H I L L E R




                                                   15          Mr. Jobs’ testimony was played in open court, with the press and public present. The
        O A K L A N D ,




                                                   16   transcript of the testimony played at trial was appended to the trial transcript, and Apple

                                                   17   previously filed the complete transcript of Mr. Jobs’ deposition in the public docket. See App’x
B O I E S ,




                                                   18   to Trial Tr. Vol. 5; Jobs Dep. Tr. (Dkt. 860-8). Movants observed Mr. Jobs’ testimony in court.

                                                   19   They have access to the written transcript.

                                                   20          Movants support their request by citing to the First Amendment and common-law rights

                                                   21   of access. They assert that “the trial testimony of Steve Jobs is presumptively open to the press

                                                   22   and public,” and thus because Mr. Jobs’ testimony happened to be captured on videotape, they are

                                                   23   entitled to take the parts of the video deposition played in open court as part of the trial in this

                                                   24   matter and use that videotape however they wish, particularly because of the unique nature of the

                                                   25   visual imagery that the video testimony conveys. (Mem. at 2-5). Put another way, Movants wish

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                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                                No. C 05-00037 YGR
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                                                    1   to obtain a recorded copy of audio-visual testimony played in this federal court.1

                                                    2          Neither case law nor common sense supports this request. Movants’ citations to

                                                    3   constitutional and common-law access rights do not bear minimal scrutiny in light of the Local

                                                    4   Rules of this Court and Supreme Court precedent.

                                                    5          First, in this Court, audio-visual recording (and broadcast) of live testimony is absolutely

                                                    6   forbidden by Local Rule 77-3. Four years ago, in fact, the Supreme Court issued an order in

                                                    7   Hollingsworth v. Perry, 558 U.S. 183, 197-98 (2010), barring this district from amending its local

                                                    8   rules to permit audio-visual recording and coverage of a different high-profile case.

                                                    9          Second, there is no First Amendment right for any member of the press or the public to
L L P




                                                   10   obtain a recording of live witness testimony. The Supreme Court has held so on two occasions
                                   F L E X N E R




                                                   11   and said so in dicta on others.
                          C A L I F O R N I A




                                                   12          Third, the common-law right of access does not authorize the relief Movants seek. The

                                                   13   video of Mr. Jobs’ testimony is not a “judicial record”; it is “merely an electronic recording of
                               &




                                                   14   witness testimony.” United States v. McDougal, 103 F.3d 651, 657 (8th Cir. 1996). Were it
             S C H I L L E R




                                                   15   otherwise, the common-law right of access would swallow the limits under the First Amendment
        O A K L A N D ,




                                                   16   of the Supreme Court’s cases expressly excluding recordings or witness testimony from the scope

                                                   17   of the constitutional access right.
B O I E S ,




                                                   18          Finally, fourth, even were the common-law right implicated here, the balance of factors

                                                   19   would weigh heavily in favor of rejecting Movants’ request. Mr. Jobs is of course a figure of

                                                   20   public interest, but nowhere in their motion papers do Movants explain why or how, for example,

                                                   21   the visual image of him “wearing his trademark black turtleneck and jeans” could provide

                                                   22   information to the public that would assist with the public’s understanding of the judicial process

                                                   23   or this case. If anything, policy considerations cut against compelling disclosure here. If

                                                   24   Movants are correct that the “substantial public interest” requires disclosure of a video record

                                                   25   “only available to those fortunate enough to be in court that day” (Mem. at 4), then the testimony

                                                   26
                                                        1
                                                               If the Court grants Movants’ request, it will have to grant the same request made by every
                                                   27   member of the public in any case. See generally Nixon v. Warner Commc’ns, Inc., 435 U.S. 589,
                                                        609 (1978) (“The First Amendment generally grants the press no right to information about a trial
                                                   28   superior to that of the general public.”).

                                                                                           2
                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                             No. C 05-00037 YGR
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                                                    1   of every witness who consensually sits for a video deposition in every litigation in this country

                                                    2   will be affected by the knowledge that they, too, one day could be someone else’s “interest,” and

                                                    3   hence decline to appear for testimony. That is hardly consistent with the “fair administration of

                                                    4   justice.” For that reason, at present, the Judicial Conference of the United States opposes

                                                    5   recording witness testimony, just as the Supreme Court and the Local Rules of this Court prohibit

                                                    6   it.2

                                                    7                                              ARGUMENT

                                                    8   I.      MOVANTS ARE NOT ENTITLED TO THE VIDEO OF MR. JOBS’
                                                                TESTIMONY.
                                                    9
L L P




                                                                There is no dispute that public and press have a presumptive right to hear and observe
                                                   10
                                                        testimony delivered in court. See, e.g., Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,
                                   F L E X N E R




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                          C A L I F O R N I A




                                                        575-80 (1980). Nor is there a dispute that they have a common-law right to judicial records, such
                                                   12
                                                        as exhibits at trial. See, e.g., Valley Broad. Co. v. U.S. Dist. Court for Dist. of Nev., 798 F.2d
                                                   13
                                                        1289, 1292-94 (9th Cir. 1986). But neither of those rights saves Movants’ motion, and fifty years
                               &




                                                   14
             S C H I L L E R




                                                        of law is arrayed against it.
                                                   15
        O A K L A N D ,




                                                                A.      Local Rule 77-3 Prohibits the Release of Mr. Jobs’ Videotaped Testimony,
                                                   16                   and the Rule Tracks Well-Established First Amendment Law on the Issue.

                                                   17           Local Rule 77-3 provides in pertinent part:
B O I E S ,




                                                   18           Unless allowed by a Judge or a Magistrate Judge with respect to his or her own
                                                                chambers or assigned courtroom for ceremonial purposes or for participation in a
                                                   19           pilot or other project authorized by the Judicial Council of the Ninth Circuit or the
                                                   20           Judicial Conference of the United States, the taking of photographs, public
                                                                broadcasting or televising, or recording for those purposes in the courtroom or its
                                                   21           environs, in connection with any judicial proceeding, is prohibited.

                                                   22

                                                   23   2
                                                                Report of the Proceedings of the Judicial Conference of the United States at 47 (Sept. 20,
                                                        1994), http://www.uscourts.gov/FederalCourts/JudicialConference/Proceedings/
                                                   24
                                                        Proceedings.aspx?doc=/uscourts/FederalCourts/judconf/proceedings/1994-09.pdf (rejecting
                                                   25   recommendation to permit audio-visual coverage of civil cases because “the intimidating effect of
                                                        cameras on some witnesses and jurors was cause for concern” for a majority of the Conference);
                                                   26   accord Sunshine in the Courtroom Act of 2007: Hearing Before the Comm. on the Judiciary,
                                                        House of Representatives, 110th Cong. 15-17 (2007), available at
                                                   27   http://www.gpo.gov/fdsys/pkg/CHRG-110hhrg37979/pdf/CHRG-110hhrg37979.pdf (testimony
                                                        of Hon. John R. Tunheim, Judge, U.S. District Court, on behalf of the Judicial Conference of the
                                                   28   United States).

                                                                                           3
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                                                    1
                                                        Mr. Jobs had been available to testify in person in court last week, Rule 77-3 would have barred
                                                    2
                                                        Movants from obtaining a video recording of his testimony.3 Permitting them to obtain a video
                                                    3
                                                        copy of that testimony amounts to granting them the very thing the Rule forbids.
                                                    4
                                                                Rule 77-3 is based on longstanding Judicial Conference policy and is the result of a
                                                    5
                                                        thorough rule-making process, based on a long history of Supreme Court case law. Cf. Fed. R.
                                                    6
                                                        Crim. P. 53 (barring audio-visual coverage of all federal criminal court proceedings). The
                                                    7
                                                        Supreme Court first dealt with the question in 1965, rejecting a claim that the audio-visual
                                                    8
                                                        coverage of portions of a criminal defendant’s pre-trial hearing and trial was protected by the
                                                    9
L L P




                                                        First Amendment. Estes v. Texas, 381 U.S. 532, 539 (1965). Thirteen years later it held that
                                                   10
                                                        there was no First Amendment right to obtain copies of recordings sought in connection with a
                                   F L E X N E R




                                                   11
                          C A L I F O R N I A




                                                        Watergate-related trial. Nixon v. Warner Commc’ns, Inc.. 435 U.S. 589, 610 (1978) (“[T]here is
                                                   12
                                                        no constitutional right to have [live witness] testimony recorded and broadcast ... live or on tape
                                                   13
                                                        to the public.”).
                               &




                                                   14
             S C H I L L E R




                                                                In 1984, Movant CNN sought a waiver in the United States Court for the Southern District
                                                   15
        O A K L A N D ,




                                                        of New York of a local rule then in force substantively identical to Local Rule 77-3. The Second
                                                   16
                                                        Circuit vacated the District Court’s grant of the waiver, and in doing so declined to hold that the
                                                   17
                                                        presumptive First Amendment right to attend and observe trials established by Richmond
B O I E S ,




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                                                        Newspapers (which had been decided after Nixon) extended to the right to record the trial.
                                                   19
                                                        Westmoreland v. Columbia Broad. Sys., Inc., 752 F.2d 16, 23 (1984).4 Nixon remains good law;
                                                   20
                                                        the presumptive First Amendment right of access to trials right does not include a right to obtain
                                                   21
                                                        3
                                                   22           Although Rule 77-3 provides an exception for matters participating in an authorized pilot
                                                        project, that pilot project is expressly limited to cases that the Court has selected for participation,
                                                   23   where all parties have consented to recording. See Judicial Conference Committee on Court
                                                        Administration and Case Management, “Guidelines for the Cameras Pilot Project in the District
                                                   24   Courts,” §§ 1.c, 2.a-2c. (June 8, 2011), http://www.uscourts.gov/uscourts/News/2011/
                                                        docs/CamerasGuidelines.pdf. The Court has not selected this case for participation in the pilot
                                                   25   project, and Apple has not consented to any recording.
                                                        4
                                                   26            “There is a long leap, however, between a public right under the First Amendment to
                                                        attend trials and a public right under the First Amendment to see a given trial televised. It is a leap
                                                   27   that is not supported by history. It is a leap that we are not yet prepared to take. It is a leap that
                                                        many federal judges and, indeed, apparently the judges of the Southern District of New York, one
                                                   28   of the most eminent district courts in the United States, oppose.” 752 F.2d at 23.

                                                                                           4
                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                                No. C 05-00037 YGR
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                                                    1   video recordings of witness testimony, or even non-testimonial video records admitted into

                                                    2   evidence. E.g., Valley Broad. Co., 798 F.2d at 1292-93.5

                                                    3          In Valley Broadcasting Co., a television station sought access to video and audio tapes

                                                    4   admitted into evidence at trial. 798 F.2d at 1290. After noting that the station had been granted

                                                    5   access to the trial proceedings and the transcripts of the exhibits in question, the Ninth Circuit

                                                    6   held that “[a]ny [F]irst [A]mendment rights to which existing case law entitled Valley

                                                    7   Broadcasting were amply satisfied by the district court’s provision for media access to the trial

                                                    8   itself.” Id. at 1292-93. The same is true here. Movants had an opportunity to observe Mr. Jobs’

                                                    9   testimony when it was played in open court, and even had advance notice of the date and time
L L P




                                                   10   when it would be shown. They have access to the transcript of the video played for the jury,
                                   F L E X N E R




                                                   11   which was appended to the public trial transcript. See App’x to Trial Tr. Vol. 5. Indeed, Movants
                          C A L I F O R N I A




                                                   12   have access to the entire transcript of Mr. Jobs’ deposition, which is publicly available. (Dkt.

                                                   13   860-8). Nothing further is required to satisfy the First Amendment.
                               &




                                                   14          Movants are simply wrong. The First Amendment confers no right to recordor obtain
             S C H I L L E R




                                                   15   recordings ofwitness testimony at this trial
        O A K L A N D ,




                                                   16          B.      The Common-Law Right to Access Judicial Records for Inspection and
                                                                       Copying Is Not Applicable Here.
                                                   17
B O I E S ,




                                                   18          Movants are also wrong in asserting that the common-law right of access permits them to

                                                   19   obtain the video recording of Mr. Jobs’ testimony. The video recording of that testimony is not a

                                                   20   “judicial record,” and therefore the common-law right does not apply.

                                                   21

                                                   22

                                                   23   5
                                                                The rule is of particular resonance to this Court on this Motion. In 2009, the Ninth Circuit
                                                        Judicial Council sought to amend Rule 77-3 to allow permit this Court to grant a request to record
                                                   24   and provide audio-visual coverage of the Proposition 8 trial. The Supreme Court intervened and
                                                   25   concluding this district had not followed appropriate procedures in amending Rule 77-3. See
                                                        Hollingsworth v. Perry, 558 U.S. 183 (2010). In the course of doing so, the Court noted that
                                                   26   while some federal district courts had relied on permissive local rules granting judges discretion
                                                        to permit recordings of proceedings, none of those courts had deal with “high profile” trials, such
                                                   27   as the one at issue in that matter. See id. at 198. It further explained that the amendment of the
                                                        Local Rule 77-3 had not taken into account the Judicial Conference’s expressed concerns
                                                   28
                                                        regarding the recording of court proceedings. See id. at 193-94.
                                                                                           5
                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                              No. C 05-00037 YGR
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                                                    1          The Ninth Circuit has yet to address the threshold issue of whether videotaped deposition

                                                    2   testimony played at trial is a judicial record subject to the common-law right of access. But other

                                                    3   courts have done so. In McDougal, 103 F.3d at 656-57, the Eighth Circuit held that a videotaped

                                                    4   deposition shown at trial was not a judicial record, and thus was not subject to the common-law

                                                    5   right. The court recognized that the Second Circuit had reached a contrary result in In re

                                                    6   Application of CBS, Inc., 828 F.2d 958 (2d Cir. 1987), but concluded that the testimony played at

                                                    7   trial should be treated like the testimony of a live witness:

                                                    8          [T]he videotape at issue in the present case is merely an electronic recording of
                                                               witness testimony. Although the public had a right to hear and observe the
                                                    9          testimony at the time and in the manner it was delivered to the jury in the
L L P




                                                               courtroom, we hold that there was, and is, no additional common law right to
                                                   10          obtain, for the purposes of copying, the electronic recording of that testimony.
                                   F L E X N E R




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                          C A L I F O R N I A




                                                        McDougal, 103 F.3d at 657.
                                                   12
                                                               Similarly, in In re Application of American Broadcasting Cos., Inc., 537 F. Supp. 1168,
                                                   13
                                                        1171-72 (D.D.C. 1982), the court concluded that “it [was] logical” that the testimony of a witness
                               &




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             S C H I L L E R




                                                        who appeared by videotaped deposition “should be treated in the same fashion as is the testimony
                                                   15
        O A K L A N D ,




                                                        of any live witness at trial—namely, the testimony is displayed to the jury, which can hear and
                                                   16
                                                        view it but not record it.” Otherwise, the court explained, the witness’s testimony, “alone among
                                                   17
                                                        witnesses at a trial, could be copied and broadcast.” Id. at 1171.
B O I E S ,




                                                   18
                                                               In both McDougal and In re Application of American Broadcasting Cos., the courts
                                                   19
                                                        grounded their analyses in the straightforward principle that recorded testimony should be treated
                                                   20
                                                        like live testimony, rather than like video recordings of out-of-court conduct or unsworn
                                                   21
                                                        conversations. See McDougal, 103 F.3d at 651 (distinguishing between “recordings of the
                                                   22
                                                        primary conduct of witnesses or parties” and “an electronic recording of witness testimony”); In
                                                   23
                                                        re Application of Am. Broad. Cos., Inc., 537 F. Supp. at 1168, 1171, 1173 (distinguishing
                                                   24
                                                        between “real evidence” and recorded testimony). Federal Rule of Civil Procedure 32(a)(4)(A)
                                                   25
                                                        supports the point. See 8A Wright, Miller & Marcus, Federal Practice and Procedure, §§ 2143,
                                                   26
                                                        2146 (3d. ed. 2010).
                                                   27

                                                   28

                                                                                           6
                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                            No. C 05-00037 YGR
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                                                    1          This conclusion is reinforced by the very cases Movants cite. All of them involve

                                                    2   recordings of what the Eighth Circuit described as “recordings of the primary conduct of

                                                    3   witnesses or parties . . . . similar to documentary evidence to which the common law right of

                                                    4   public access ordinarily may apply.” See McDougal, 103 F.3d at 657.6 In McDougal, on the

                                                    5   other hand, the court made clear that video depositions played in court were “on equal footing”

                                                    6   with live testimony, and thus not judicial records implicating the common-law right of access.

                                                    7   See id. at 657.

                                                    8          The Court should look to the substance of the record in question, rather than mechanically

                                                    9   focusing on its format. The logical approach here is to treat recorded testimony, such as Mr.
L L P




                                                   10   Jobs’, like live testimony. See Fed. R. Civ. P. 32(a)(4)(A); see also McDougal, 103 F.3d at 651;
                                   F L E X N E R




                                                   11   In re Application of Am. Broad. Cos., Inc., 537 F. Supp. at 1168, 1171, 1173. On the other hand,
                          C A L I F O R N I A




                                                   12   it would be unreasonable and arbitrary to follow In re Application of CBS, 828 F.2d at 959-60,

                                                   13   and treat Mr. Jobs’ videotaped testimony like a video recording of conduct or events admitted
                               &




                                                   14   into evidence, simply because Mr. Jobs was unavailable to testify in person at trial.7
             S C H I L L E R




                                                   15          Accordingly, the Court should conclude that the video of Mr. Jobs’ testimony is not a
        O A K L A N D ,




                                                   16   judicial record, and is not subject to the common-law right of access.

                                                   17          C.         Even if the Common-Law Right of Access Applied Here, The Presumption of
                                                                          Disclosure Would Be Overcome By Compelling Reasons.
B O I E S ,




                                                   18

                                                   19          Even if the Court found that Mr. Jobs’ testimony is a judicial record subject to the

                                                   20
                                                        6
                                                   21           See Valley Broad. Co., 798 F.2d at 1290-91 (video admitted into evidence, “generally
                                                        record[ing] conversations occurring during the planning or commission of residential
                                                   22   burglaries”); United States v. Criden, 648 F.2d 814, 815 (3d Cir. 1981) (video admitted into
                                                        evidence); United States v. Criden, 501 F. Supp. 854, 855 (E.D. Pa. 1980) (describing the records
                                                   23   at issue as “video tapes of meetings between the defendants and undercover F.B.I. agents”); In re
                                                   24   Application of Nat’l Broad. Co., Inc., 635 F.2d 945, 947-49 (2d Cir. 1980) (video admitted into
                                                        evidence of elected officials negotiating and accepting bribes); United States v. Mouzin, 559 F.
                                                   25   Supp. 463, 463-64 (C.D. Cal. 1983) (video admitted into evidence, such as “tape recordings of
                                                        meetings attended by defendants and undercover government agents”).
                                                   26
                                                        7
                                                               In re Application of CBS is also distinguishable on the grounds that the videotaped
                                                   27   deposition in that case was apparently entered into evidence. See 828 F.2d at 960 (referring to “a
                                                        videotaped deposition introduced in evidence” and “a videotaped exhibit”). The video of Mr.
                                                   28   Jobs’ deposition was not moved into evidence. See Trial Tr. 1058:18-1059:22.

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                                                        APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                             No. C 05-00037 YGR
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                                                    1    common-law right of access—and it is not—the presumption favoring access would be overcome

                                                    2    by compelling reasons that weigh against Movants’ request. The common-law right of access

                                                    3    “does not mandate disclosure in all cases.” San Jose Mercury News, Inc. v. U.S. Dist. Ct. for

                                                    4    Dist. of N. Cal., 187 F.3d 1096, 1102 (9th Cir. 1999). The Court must “weigh the interests

                                                    5    advanced by the parties in the light of the public interest and the duty of the courts.” Valley

                                                    6    Broad. Co., 798 F.2d at 1294 (quoting Nixon, 435 U.S. at 602). Factors relevant in this balancing

                                                    7    test “include the public interest in understanding the judicial process and whether disclosure of

                                                    8    the material could result in improper use of the material for scandalous or libelous purposes or

                                                    9    infringement upon trade secrets.” Hagestad v. Tragresser, 49 F.3d 1430, 1434 (9th Cir. 1995).
L L P




                                                   10           Disclosure of the video of Mr. Jobs’ testimony would not promote the public interest, the
                                   F L E X N E R




                                                   11    duties of the court, or the public’s understanding of the judicial process—it would do just the
                          C A L I F O R N I A




                                                   12    opposite. Most crucially, unfettered disclosure of Mr. Jobs’ testimony based solely on the general

                                                   13    interest of the press—or indeed any member of the wider public—would deter other individuals
                               &




                                                   14    from appearing voluntarily for videotaped depositions, and undermine the operations of the
             S C H I L L E R




                                                   15    courts. See Am. Broad. Cos., 537 F. Supp. at 1171 n.10 (noting that if depositions recorded for
        O A K L A N D ,




                                                   16    use at trial could be copied and broadcast, “it seems likely that future witnesses might reasonably

                                                   17    resist videotape recordation. Such a result would be counter to the Rule and would impede the
B O I E S ,




                                                   18    utilization at trial of a practical instrument of modern technology”).

                                                   19           Movants’ request is simply an attempt to generate public interest for reasons wholly

                                                   20    unrelated to the resolution of this trial. These considerations have no place in the Ninth Circuit’s

                                                   21    balancing test, and undermine the purposes of videotaped depositions. See McDougal, 103 F.3d

                                                   22    at 658 (“[A]s a matter of public policy, . . . courts should avoid becoming the instrumentalities of

                                                   23    commercial or other private pursuits[.]”); Paisley Park Enters., Inc. v. Uptown Prods., 54 F.

                                                   24    Supp. 2d 347, 349 (S.D.N.Y. 1999) (“Rule 30(b)(2) . . . was not intended to be a vehicle for

                                                   25    generating content for broadcast and other media.”). Tellingly, Movants do not explain why Mr.

                                                   26    Jobs’ “tone of voice, demeanor, and appearance” is necessary for the public to evaluate his

                                                   27    testimony, while the transcript suffices for all the other witnesses in this case—and in countless

                                                   28    other cases throughout this district. See Civ. L.R. 77-3. Movants also do not explain how Mr.

                                                                                            8
                                                         APPLE’S OPP. TO MEDIA INTERVENOR’S MTN FOR ACCESS                              No. C 05-00037 YGR
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                                                    1    Jobs’ “trademark” attire advances any public understanding of this case or the judicial process.

                                                    2    Nor can they. Mr. Jobs is the only witness in this case whose testimony the broader public would

                                                    3    ever see. The public’s view of this estimated ten-day trial—and almost ten years of litigation—

                                                    4    would be shaped entirely by a few minutes of one witness’s testimony.

                                                    5                                             CONCLUSION

                                                    6           Movants are not entitled to the video of Mr. Jobs’ testimony under Local Rule 77-3, the

                                                    7    First Amendment, or the common law. Their request for access should be denied.

                                                    8

                                                    9    Date: December 9, 2014                             Respectfully Submitted,
L L P




                                                   10                                                       BOIES, SCHILLER & FLEXNER LLP
                                   F L E X N E R




                                                   11
                          C A L I F O R N I A




                                                                                                            By: _/s/ Jonathan H. Sherman ____
                                                   12                                                              Jonathan H. Sherman
                                                   13                                                       Attorneys for Defendant Apple Inc.
                               &




                                                   14
             S C H I L L E R




                                                   15
        O A K L A N D ,




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                                                   17
                                                                                           ATTESTATION OF FILER
B O I E S ,




                                                   18           I hereby attest that I have on file all holographic signatures corresponding to any
                                                   19    signatures indicated by a conformed signature (/S/) within this e-filed document. I have obtained
                                                   20    Jonathan H. Sherman’s concurrence to file this document on his behalf.
                                                   21

                                                   22    Date: December 9, 2014                             Respectfully Submitted,
                                                   23                                                       BOIES, SCHILLER & FLEXNER LLP
                                                   24

                                                   25                                                       By: _/s/ Maxwell V. Pritt ____
                                                                                                                   Maxwell V. Pritt
                                                   26
                                                                                                            Attorneys for Defendant Apple Inc.
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